         Case 1:21-cr-00175-TJK Document 207 Filed 10/14/21 Page 1 of 3




                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

                                                   )
 UNITED STATES OF AMERICA,                         )
                                                   )
                                                   )
                        v.                         ) Case No. 1:21-cr-175-TJK
                                                   )
 ETHAN NORDEAN, et al.,                            )
                                                   )
        Defendants.                                )
                                                   )

       DEFENDANT NORDEAN’S NOTICE OF COMPREHENSIVE JANUARY 6
                GOVERNMENT PLEA AGREEMENT CHART

       After briefing concluded on Defendant Nordean’s Motion to Dismiss the First

Superseding Indictment, a media outlet published a comprehensive database that breaks down all

of the government’s January 6 plea agreements through October 13. 100 Capitol Rioters Have

Pleaded Guilty. Here’s What They Did And What They’re Facing. BuzzFeed News, Oct. 13,

2021, https://www.buzzfeednews.com/article/zoetillman/100-capitol-riot-guilty-pleas.

       Over 640 defendants have been charged. Of the 100 plea agreements, approximately 90

involve defendants who pled guilty to one of the following misdemeanor offenses and who did

not plead guilty to a felony offense: (1) parading, demonstrating or picketing in the Capitol

Building, 40 U.S.C. § 5104(e)(2)(G); (2) disorderly conduct in the Capitol Building, §

5104(e)(2)(D); or (3) entering a restricted area. 18 U.S.C. § 1752(a)(1). Nordean attaches to this

notice an exhibit that charts every one of those misdemeanor guilty pleas by the criterion of

offense conduct, i.e., the conduct to which the defendant stipulated in the statement of the

offense attached to the plea agreement. Exh. 1.

       In connection with Nordean’s vagueness doctrine argument that the government’s

interpretation of § 1512(c)(2) provides no notice as to when conduct that constitutes a six-month-

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         Case 1:21-cr-00175-TJK Document 207 Filed 10/14/21 Page 2 of 3




maximum § 5104(e)(2)(G) misdemeanor parading offense transforms into a 20-year-maximum §

1512(c)(2) felony obstruction of justice offense, Nordean would be grateful if the Court would

please consider Exhibit 1 attached to this notice and the offense conduct descriptions for the 90

guilty pleas to which the government was a party. The Court will notice that many of those

agreements do not contain cooperation provisions, and when they do, cooperation tends to

consist of sharing mobile phone photographs with the government.

Dated: October 14, 2021                              Respectfully submitted,


                                                     /s/ David B. Smith
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                                                     Counsel to Ethan Nordean


                                      Certificate of Service
       I hereby certify that on the 14th day of October, 2021, I filed the foregoing notice with the

Clerk of Court using the CM/ECF system, which will send a notification of such filing (NEF) to

the following CM/ECF user(s):


               James Nelson
               Assistant United States Attorney
               555 4th Street, N.W., Room 4408
               Washington, D.C. 20530
               (202) 252-6986

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         Case 1:21-cr-00175-TJK Document 207 Filed 10/14/21 Page 3 of 3




       And I hereby certify that I have mailed the document by United States mail, first class

postage prepaid, to the following non-CM/ECF participant(s), addressed as follows: [none].


                                                   /s/ David B. Smith
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